FILED
AO 91 (Rev. 11/11) Criminal Complaint CHARLOTTE, NC

 

UNITED STATES DISTRICT COURT SEP 17 2019

 

for the US DISTRICT COURT

Western District of North Carolina WESTERN DISTRICT OF NC

United States of America )
v. ) . :
HAL H. BROWN, JR. Case No. 3 /VV/ 530
)
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of set forth in the attached Affidavit in the county of BUNCOMBE in the
WESTERN District of _ NORTH CAROLINA __, the defendant(s) violated:

 

 

Code Section Offense Description
18 U.S.C. 1343 Wire Fraud
18 U.S.C. 1957 Money Laundering

This criminal complaint is based on these facts:

Attached Affidavit

CO Continued on the attached sheet.

   

Special Agent Jacob Rij Guffey, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 09/17/2019 Dwr
ge's signature

City and state: Charlotte, North Carolina David C. Keesler, United States Magistrate Judge

Printed name and title

 

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR ARREST WARRANT

I, Jacob R. Guffey, being first duly sworn, hereby depose and state as follows: |
Introduction and Agent Background

1. I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been
since 2008. As such, I am a “federal law enforcement officer” of the United States within the
meaning of Rule 41 of the Federal Rules of Criminal Procedure. I am currently assigned to the
Charlotte Division, Hickory Resident Agency where my responsibilities have included
investigating a variety of offenses, to include white-collar crimes.

2. The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This Affidavit is intended
to show merely that there is sufficient probable cause for the requested arrest warrant and criminal
complaint charging HAL H. BROWN, JR. with wire fraud, in violation of Title 18, United States
Code, Section 1343 and transactional money laundering in violation of Title 18, United States
Code, Section 1957. As such, this Affidavit does not set forth all of my knowledge about this
matter, nor is it intended to provide all of the information obtained in connection with the relevant
investigation.

3. Your affiant submits that there is probable cause to believe that for at least the last
several years to the present, while in the Western District of North Carolina and elsewhere, HAL
H. BROWN, JR. did execute a “Ponzi” scheme to defraud multiple investors of over $10,000,000,
and engaged in money laundering, through the use of various interstate wires. Victim 1 (V1), alone,
invested or loaned nearly $5 million. BROWN ‘recruited individuals to invest money in the
OODLES COMPANY and its various affiliates (collectively, “OODLES”), for the stated purpose

of facilitating the development and sale of intellectual property purportedly owned by OODLES.

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Despite collecting over $10,000,000 based on such representations, BROWN does not appear to
have conducted any sales of the intellectual property purportedly owned by OODLES. Rather,
BROWN simply deposited the money in various bank accounts, withdrew new investor money to
make Ponzi payments to old investors, and made a series of personal expenditures. BROWN

concealed the scheme, among other ways, with false representations to investors and false account

statements.

‘The Scheme

4. BROWN, a resident of Asheville, North Carolina, represented himself to potential
investors as the CEO of OODLES, which was purportedly involved in the ownership, production
and distribution of intellectual properties, namely family entertainment shows and movies.
BROWN claimed that he and OODLES had relationships with The Walt Disney Company (WDC),
Paramount Pictures (Paramount), Apple Inc. (Apple) and other well-known media companies.
BROWN also claimed that OODLES was involved in the production of first class family
entertainment. Marketing material seeking investments for OODLES claimed large returns on
funds invested into the company. BROWN and OODLES also claimed to have ownership of
approximately 420 intellectual properties, which BROWN claimed were worth hundreds of
millions of dollars.

5. In furtherance of his scheme and artifice to defraud, BROWN provided, among
others, the following false and fraudulent misrepresentations, thereby causing victims to invest in
his fraudulent scheme.

a. On or about December 23, 2017, BROWN provided Victim 2 (V2) an email
purported to be from “Carmen Demarco,” and discussed an impending sale of various intellectual

properties to Walt Disney Company involving the law firm Dentons. It stated, in part, “WDC has

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agreed to purchase 48% of the available Class B Stock owned by the Oodles Pamily Company. As
this stock is allocated, the full ownership of the collection of Intellectual Properties approved and
cleared for sales by The Oodles Companies and all related unions and societies and guilds,
worldwide, will be transferred to WDC and filed accordingly. ... Upon closing of the sale of Class
B Stock on January 23, 2018, The [Victim] Family will receive the assigned multiple of 3.12
(inclusive of fees) of the one million eight hundred thousand dollar value they have locked via this
process.”

b. The sale discussed in the December 23, 2017 email did not take place as
scheduled in J. anuary 2018. Instead, over the next several months, numerous lulling emails
purportedly from Carmen Demarco were sent to V2 explaining the delays in the sale of Intellectual
Properties to the Walt Disney Company, blaming the delays on scrutiny from the Department of
Justice, and soliciting additional funds from victims.

C. For example, on or about March 29, 2018, BROWN and V2 received
another purported email from Carmen Demarco stating, in part, “Hal [BROWN] asked that I render
an opinion and also a thorough update today. He has been, is today and most likely will be through
the day tomorrow on either standby with pre-meeting strategy session or on video conferences. ...
Hal [BROWN] is being vetted (as the signatory to all unions) and being asked to prove (a) that
ownership of the Intellectual Properties is in fact valid, which of course it is (b) that there was
never nor is there now any collusion with the Walt Disney Company or any others leading to the
purchasing of any of the Intellectual Properties (c) that all Intellectual Properties have complete
international clearances so that they can be used in productions worldwide, which they of course

do. ... The Oodles Company has set new deadlines for WDC and certainly WDC wants to adhere

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to said deadlines. They will, we believe, close all by no later than the end of April if not sooner.
They must do that in order to meet upcoming production deadlines.”

d. On or about April 17, 2018, BROWN and V2 received another purported
email from Carmen Demarco stating, in part, “Hal, your summation of why Karin is going back to
WDC is right on point .... She told me just within the last hour that she hears also that WDC is set
to close by first of May. I just cannot see how they can accomplish even half of what they have in
their sites without the content/IP’s.”

e. On or about July 25, 2018, BROWN forwarded to V2 another purported
email from Carmen Demarco stating, in part, “Wanted to keep you in the loop here ... We’re doing
all we can to get the clearances locked so we can march on toward the 14th!!!.” The email that
BROWN forwarded to V2 stated, in part, “Please advise me by late this evening or early tomorrow
of the yay or nay on whether or not you will send the additional funds to clear totally. Once cleared
and August 14 date is locked then your paperwork will flow and really it is simple add-on to what
has been agreed to already, with new amounts of course and new down line percentages. Go make
it happen!!!”

f. By the fall of 2018, the promised transaction still had not occurred.
BROWN continued to lull victims and perpetuate the fraud by claiming that he was in the process
of selling the purported intellectual property to a group of investors based in the United Kingdom.
For example, on October 18, 2018, BROWN sent an email to someone referred to as Rich V.
Rivera (RIVERA) at RVshamuone@groupmail.com1 with the subject ‘Tomorrow’s Close!” The

email stated, in part, “I do know. what you all are going through and understand completely the

 

complexities of obtaining financing of this amount from sources outside the US.... I know you

 

' This is an apparent reference to the Orca character made famous in numerous Sea World shows.
BROWN claimed to victims that he had developed the content for various Sea World shows.

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understand our frustrations as well. ... We are frustrated with the process and the seemingly out
of the blue delays. Your assurance that the funds will be in your account ‘hopefully by the end of
the day tomorrow but certainly no later than Monday’ are appreciated....We ask, please, that you
call us the moment those funds are in your account and are available.”

g. On October 24, 2018, BROWN sent an email to V1 with the subject
“Keeping you informed.” The email forwarded another email purportedly sent by an individual
named Molly. BROWN’s forwarding email stated, “This came in from Molly...they’re really

working at it. We’re still at it here...going to be going until probably 11 pm or so and then we

should be done!” The forwarded email stated, in part, “Hal, the trip to meet with ‘the big boys’ in |

person in NYC was fruitful in that there is now a plan top-down in place. I felt it necessary to do
humanly doable to keep delays to a minimum and keep all moving forward. We all know certainly
that closing something such as this is a gargantuan undertaking, mainly due to so many countries
and regulators an overseers being involved at all levels.”

h. On or about November 18, 2018, BROWN sent V1 two pictures of what
appear to be screenshots from a computer. The first photo, which is reproduced below, is of an
Account Summary Overview for a First Republic Bank account, with the account number redacted.
The “Statement Period” is for 11/11/18 — 11/12/18, and the account shows an 11/12 “Deposit

[Pending]” of $846,000,000.00.

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$316,410.56 Average Dally Bi
“-$846,000,000.00 [Pending] Minimum Balan
me $0.00

Sl $0.00
“> "$846,916,410.56 [Pending]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i. First Republic Bank has advised law enforcement that the purported
statement sent to V1 was not genuine and did not reflect the records of First Republic. Among
other things, First Republic reported that, “First Republic was unable to locate this attempted
deposit or determine the account that received or attempted to receive the deposit of
$846,000,000.00 on either 11/11/2018 or 11/12/2018.”

j. On September 17, 2019, an associate of BROWN, a freelance artist who has
done artwork for BROWN and OODLES since approximately 2008, was interviewed by law
enforcement and advised that, in November, 2018, BROWN asked the associate to assist with a
DECA? project for BROWN’s daughter by creating company letterheads and documents. One of
the documents this person created was the First Republic Bank Account Summary Overview dated

November 12, 2018, noted above.

 

* According to the website deca.org, DECA Ine. is a 501(c)(3) not-for-profit student organization with
more than 215,000 members. DECA prepares emerging leaders and entrepreneurs in marketing, finance,
hospitality and management in high schools and colleges around the globe.

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k. The second screenshot that BROWN sent to V1 was of a purported letter
from Bray & Krais, dated November 17, 2018. According to their website, Bray & Krais is a
specialist law firm with an outstanding reputation in music, sports, and entertainment. The letter
states, “On Thursday, 25 October, 2018 a partnership of the six individuals of multi-national
origins was formed in London for the stated purpose of transferring funds totaling Eight Hundred
Forty Six Millions Dollars to a U.S. Partnership. These funds were stated to be used for the
purchase outright of a U.S. Company to include all Intellectual Properties and digital platforms
involved.” The letter also states, “The wire transfer traversed through three intermediary financial
institutions with conversion to U.S. Funds taking place upon arrival at the third. The amount of
this transfer is indeed quite large and that in itself will always cause strict overview by many.” The
letter was signed but a name was not provided under the signature. Based on my knowledge of the
investigation, I believe this letter was sent to explain why the “Pending” $846,000,000 deposit was
never finalized and provided more excuses for delays. As with the First Republic. Bank Account
Summary Overview noted above, BROWN had his associate create a blank letterhead for Bray &
Krais dated November 17, 2018, purportedly for BROWN’s daughter’s DECA competition.

1, On December 11, 2018, BROWN emailed V1 with the subject “Update with
latest as of 7:30pm December 11, 2018.” The email stated, “The good news is that we have now
amassed an absolutely second-to-none collection of Intellectual Properties which are becoming
more valuable by the month...we are now in the best position ever to sell quickly all or most of
our Intellectual Properties. We have worked around the clock for the three weeks to complete this
appraisal process and within the next two or three days, a division of Paramount will be verifying
this appraisal and stating its validity.” Later in the email is stated, “Had we used the profits to pay

dividends instead of for the ongoing purchasing and clearing of Intellectual Properties, everyone

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would have made very significant returns on their original investment...and those returns would
be ongoing and increasing by 20% to 25% each year.” The email continued, “There are two strong
potential purchasers of at least 75% of our Intellectual Properties who want to come here to
Asheville and meet everyone...They will be able to be here and have promised to do so next
Wednesday, December 19th.” Based on my knowledge and experience, BROWN discussed
purchasing multiple Intellectual Properties and making them more valuable. BROWN also advised
“we” are completing the appraisal of the Intellectual Properties, which will be verified by
Paramount. BROWN advised that profits made were reinvested in adding additional Intellectual
Properties, which reduced returns. I believe that Brown did not use profits from Oodles, if there
even were any, to purchase intellectual properties as he represented and that the returns offered by
BROWN were falsely overstated. This belief is corroborated by information received by law
enforcement from the Internal Revenue Service indicating that it has no record of receiving any
tax filings from Oodles during the relevant period.

m. According to V1, there was a stockholder’s meeting on December 16, 2018.
During the meeting, BROWN discussed how Oodles set up a production business and should
expect an appraisal of the Intellectual Property shortly. BROWN advised that the investors were
to receive large dividends. |

n. BROWN provided V1 with a copy of a document labeled “Appraisal in full,
Core Oodles Intellectual Properties,” dated Tuesday, December, 18, 2018, with an email address
attached as standardvorys@tutanota.com as the purported appraiser. The first page of the
“appraisal,” contained a description of the group performing the appraisal stating, “The free lance
group has worked in the past with the teams of Vorys, Sater, Seymour, and Pease and now work

independently.” The appraisal listed 420 Intellectual Properties and claimed that the value of the

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Intellectual Properties was millions of dollars. Vorys, Sater, Seymour, and Pease is a law firm
based in Ohio with no offices in North Carolina or California.

0. According to its website, the email service provider Tutanota claimed to be
“the world’s most secure email service” that does not log IP addresses and “no personal
information such as phone numbers is required to access your anonymous email account,” and is
wholly based in Hanover, Germany.

p. Based on your affiant’s knowledge and experience, email services like
Tutanota are not used to conduct legitimate business, and I therefore believe the user of
standardvorys@tutanota.com is not licensed or qualified to conduct an appraisal of intellectual
property. I further believe that a legitimate firm would use their letterhead and include a Signature
to verify the work performed.

q. The appraisal also states, “All materials and valuation numbers have now
been passed to Paramount for verification and statement of agreement which will come by’
December 19, 2018. Along with the appraisal, V1 received a document entitled “Statement of
Verification and Agreement,” dated December 19, 2018 on what appears to be Paramount
Paramount letterhead. The opening line of the statement reads, “In the appraisal group operating
under the guidance of Michael D. Armstrong and with values-confirmation gathered over a four-
week period beginning November 14, 2018, all listed Intellectual Properties under the full and
complete ownership of Oodles were vetted and all clearances domestically and internationally
were confirmed. This took place with the help of the free-lance appraisers under the guidance of

Vorys Firm.” The statement concluded, “Note that it is the intention of Paramount and parent

 

company Viacom to place a fair bid for a large portion and perhaps the entire catalogue of

Intellectual Properties no later than January 18, 2019.”

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r. As part of this investigation, Paramount was asked to confirm the

authenticity of the December 19, 2018 letter. A representative from Paramount advised the

“Statement of Verification and Agreement” dated December 19, 2018 is not a document
Paramount would produce and does not appear to be legitimate. The representative also advised
that Paramount was not familiar with the Intellectual Properties and that Michael D. Armstrong
had no involvement with Oodles. As with the First Republic Bank Account Summary Overview
and Bray & Krais letterhead noted above, BROWN had his associate create a blank letterhead for
Paramount dated December 19, 2019, purportedly for BROWN’s daughter’s DECA competition.
6. On or about September 6, 2019, a Verified Complaint and Motion for Preliminary

Injunction was filed in the Superior Court of Buncombe County against BROWN and OODLES
by Victim 3 (V3). Based on my review of V3’s Verified Complaint and financial records, it appears
that BROWN is continuing to engage in his fraudulent scheme and fraudulently utilizing money
taken from V3 to make Ponzi payments to V1 and other victims.

a. According to the allegations of V3’s Verified Complaint, in or about
December 2018, V3 loaned $275,000 to BROWN and OODLES, which was purportedly secured
with Preferred OODLES Stock. The loan terms were subsequently amended resulting in the
provision of additional money from V3 on various occasion through June 2019. In total, V3
provided BROWN with approximately $755,000 pursuant to this loan. The maturity date of the
loan was June 1, 2019, yet BROWN has not paid any money to V3. Your affiant believes that this
loan is fraudulent inasmuch as OODLES is a sham entity utilized by BROWN in furtherance of
his scheme.

b. According to the allegation of V3’s Verified Complaint, in or about July

2019, BROWN also induced V3 to lend approximately $1.5 million to facilitate the purported sale

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of intellectual properties ostensibly owned by OODLES to Apple. In exchange for V3’s money,
BROWN promised V3 a profit of approximately $3 million. In June and July 2019, V3 sent a
series of wire transfers totaling approximately $1.5 million to a Sun Trust Bank Account *7069
held by BROWN d/b/a/ OODLES. Thereafter, BROWN provided V3 with a purported letter
agreement between OODLES and Apple dated August 26, 2019 (Apple Agreement).

 e. Based on your affiant’s review of BROWN’s correspondence with other
victims, BROWN has used the same fraudulent premise set forth in V3’s verified complaint, to
wit, the purported sale of intellectual properties ostensibly owned by OODLES to well-known
media companies in order to induce victims to provide him money. As with the other letterheads
noted above, BROWN had the associate create.a commitment letter and blank letterhead for Apple,
purportedly for BROWN’s daughter’s DECA competition.

7. On or about September 10, 2019, another Verified Complaint and Motion for
Preliminary Injunction was filed in the Superior Court of Buncombe County against BROWN and
OODLES by Victim 4 (V4). Based on my review of V4’s Verified Complaint and financial
records, it appears that BROWN is continuing to engage in his fraudulent scheme and fraudulently
utilizing money taken from V4 to make Ponzi payments to V1 and other victims.

a. According to the allegation of V4’s Verified Complaint, in or about August
2019, BROWN induced V4 to lend approximately $5 million to facilitate the purported sale of
intellectual properties ostensibly owned by OODLES to Apple. In exchange for V4’s money,
BROWN promised v4 a profit of approximately $9 million to be paid following the purported sale
of the intellectual properties and associate distribution and production rights. BROWN also

provided V4 with a copy of the fraudulent Apple Agreement. Thereafter, on or about August 25,

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2019, August 29, 2019, and August 30, 2019, V4 conducted wire transfers totaling approximately
$5 million to a Sun Trust Bank Account *7069 held by BROWN d/b/a OODLES.

b. Based on your affiant’s review of BROWN’s correspondence with other
victims, BROWN has used the same fraudulent premise set forth in V4’s verified complaint, to
wit, the purported sale of intellectual properties ostensibly owned by OODLES, in order to induce
victims to provide him money.

C. Your affiant has obtained and analyzed the *7069 account for the July and
August 2019 time period. Based on my review, I have confirmed the incoming wire transfers from
V4 and have also identified multiple suspicious transactions, including several over-the-counter
withdrawals totaling approximately $329,627, and approximately $400,000 in Ponzi payments to
Vi.

CONCLUSION

8. Your affiant submits that this affidavit supports probable cause for a warrant to
arrest HAL H. BROWN JR. for wire fraud in violation of Title 18, United States Code, Section
1343 and money laundering in violation of Title 18, United States Code, Section 1957.

9. From at least the last several years to the present, BROWN with the intent to
defraud, did knowingly and intentionally devise the above-described scheme and artifice to
defraud and obtain money by materially false and fraudulent pretenses, representations, and
promises, and, for the purpose of executing such scheme and artifice to defraud, did transmit and
cause to be transmitted by means of wire communication in interstate and foreign commerce any
writing, signal, and sound, to wit, the emails and wire transfers specified in Paragraphs four

through seven above.

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10. From at least the last several years to the present, BROWN did knowingly engage,
attempt to engage, and caused others to engage, in monetary transactions by, through, or to a
financial institution, affecting interstate or foreign commerce, in criminally derived property of a
value greater than $10,000, that is the deposits, withdrawals, transfers and exchanges described in
Paragraphs four through seven above, of United States currency, funds, and monetary instruments,

such property having been derived from a specified unlawful activity, to wit, wire fraud.

Respectfully submitted,

 

Subscribed and sworn to before me this 17th day of September, 2019.

HONO Ck ID C. KEESLER

UNITED STATES MAGISTRATE JUDGE

 

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